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                    United States v. DAVID ADLER STAVELEY,
                  a/k/a “Kurt David Sanborn,” a/k/a “David Sanborn”

                   COMPLAINT COVER SHEET ATTACHMENT

Count 1:          (18 U.S.C. § 371; Conspiracy to Make False Statement to Influence the
                  SBA)

                  MAX PENALTY

                  a.   5 years imprisonment;
                  b.   $250,000 fine;
                  c.   3 years supervised release; and
                  d.   $100 special assessment.

Count 2:          (18 U.S.C. § 1349; Count Two – Conspiracy to Commit Bank Fraud)

                  MAX PENALTY

                  a.   30 years imprisonment;
                  b.   $250,000 fine;
                  c.   5 years supervised release; and
                  d.   $100 special assessment.

Count 4:          (18 U.S.C. § 1028A; Count Four – Aggravated Identity Theft)

                  MAX PENALTY

                  a.   Mandatory 2 years consecutive imprisonment;
                  b.   $250,000 fine;
                  c.   1 year supervised release; and
                  d.   $100 special assessment.
